The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
You have submitted to us a summary statement prepared pursuant to Section 116.334, RSMo Supp. The summary statement which you have submitted is as follows:
    Shall Article IV, Section 36(a) of the Missouri Constitution be amended to require that the department of economic development administer programs relating to technology development and that one tenth of all monies approved by the Governor and state legislature for the economic development department will be applied towards the development of technology parks in Missouri on a yearly basis?
See our Opinion Letter No. 216-2000 (attached), approving the form of the related petition.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                    JEREMIAH W. (JAY) NIXON Attorney General